Case: 1:17-cv-02148-DAP Doc #: 142 Filed: 02/22/23 1 of 1. PageID #: 25802

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                              February 21, 2023


Clerk
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
                                                                     FILED
                                                              Feb 22, 2023
Cincinnati, OH 45202-3988
                                                          DEBORAH S. HUNT, Clerk


      Re: Anthony Novak
          v. City of Parma, Ohio, et al.
          No. 22-293
          (Your No. 21-3290)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
